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                    Case 2:20-cv-01042-WHA-JTA Document 1 Filed 12/16/20 Page 1 of 8



                                 IN THE UNITED STA FES DISTRICT COURT FOR THE
                                         MIDDLE DISTRICT OF ALABAMA
                                          501414trit           DIVISION     CEIVED
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                                                               )               PEBRA P. HACKETT, CLK
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                                                                                U.S. DISTIBICT COURT
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                     Plaintiff(s),              060           ))       CIVIL ACTIONV.60fr
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                     v.                                        )          YES           ONO
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                     Defendant(s).
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             1.      Plaintiff(s)' address and telephone number:       3                          fr.h
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             2       Name an address of defendant(s):              ,
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             3.( Place of alleged violation ofcivil rights:01/4 et.t At,/ of"                    dar64.47,Az /ct%
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             4.      Date of alleged violation of civil rights:

             5.      State the facts on which you base your allegation tha your constitutional rights have been
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